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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


IN RE: MOVEIT CUSTOMER DATA
SECURITY BREACH LITIGATION

This Document Relates To:                          MDL No. 1:23-md-03083-ADB-PGL

All Cases


 CORRECTED 1 SUPPLEMENTAL RESPONSE TO PLAINTIFFS’ JOINT STATUS
   REPORT FOR THE NOVEMBER 30, 2023 INITIAL CASE MANAGEMENT
                        CONFERENCE




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      This filing is identical to ECF No. 153, but with corrections made to the signature block.
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         Pursuant to MDL Order No. 3, Counsel in the undersigned actions identified below

respectfully submit this supplemental response to the Status Report filed by certain Plaintiffs’

counsel in the In re: MOVEit Customer Data Security Breach Litigation, MDL No. 1:23-md-

03083.

         Undersigned counsel join in and adopt the statements made in the Status Report filed by

Plaintiffs in response to Questions 1-12, except as to the position taken in Plaintiffs’ Status

Report as to Fed. R. Civ. P. 23(g)(3) submissions. Although undersigned counsel agree that the

Court should appoint interim class counsel expeditiously, undersigned counsel believe that any

submissions should occur after the upcoming Initial Case Management Conference, whereas

certain other Plaintiffs’ counsel have indicated that they intend to file their Rule 23(g)(3)

submissions simultaneously with or shortly after the filing of Plaintiffs’ Status Report.

         Undersigned counsel believe this is an important distinction between Plaintiffs, as

undersigned counsel seek to have the benefit of the Court’s guidance as to the potential

organizational structures, a schedule for submissions, and identification of any specific

information the Court seeks to be included with the submissions.

         For example, certain previous MDL courts have required individual applications seeking

specific positions or roles in the MDL, whereas other courts have entertained applications on

behalf of a group of attorneys and firms. Consistent with the Manual for Complex Litigation,

Fourth, § 10.221, proposed organizational structures traditionally include firms and attorneys

appointed to serve as “Lead Counsel,” “Liaison Counsel,” and attorneys appointed to committees

to perform specific tasks such as discovery, or preparing briefs. Id. For example, in complex

class actions and data breach actions, courts have appointed “traditional” leadership structures

which include multiple firms serving as “Lead Counsel” with additional firms serving on a




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“Steering Committee” at the direction of lead counsel and firms serving as liaison counsel with

the court. Alternatively, courts in other complex class actions and data breach actions have

approved leadership structures and appointed multiple different firms to serve as “Lead Counsel”

based on a specific defendant or defendant group. Those courts have also included appointments

to a “Steering Committee” based on the defendant or defendant group with specific firms serving

as “Liaison Counsel” or “Coordinating Counsel” amongst the various cases. Other complex class

actions and mass tort actions have appointed “Coordinating Counsel” to oversee all of the

various actions while leaving litigation against specific defendant groups to individual teams

who are appointed by the court. Undersigned counsel believe that a robust discussion of these

proposed scenarios should occur, at the Court’s discretion, at the November 30th, 2023 Initial

Case Management Conference, prior to the Court’s considering and ruling on the appointment of

interim class counsel.

       Moreover, given the number of firms who may be potentially interested in serving in a

leadership role, undersigned counsel believe that a discussion as to the specific information the

Court wishes to receive, along with parameters as to the length and substance of such

applications, should occur at the Initial Case Management Conference and that the Court should

establish a deadline and a hearing date for the Court to consider such applications. This would be

consistent with the guidance provided in the Manual for Complex Litigation, Fourth § 10.224.

(“Although the court should move expeditiously and avoid unnecessary delay, an evidentiary

hearing may be needed to bring all relevant facts to light or to allow counsel to state their case

for appointment and answer questions from the court about their qualifications (the court may

call for the submission of résumés and other relevant information). Such a hearing is particularly

appropriate when the court is unfamiliar with the attorneys seeking appointment.”). Additionally,




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given the number of firms who have filed actions, it may be of interest to the Court to appoint

certain firms and attorneys who have minimal prior experience in leadership roles in complex

class actions to foster the development and growth of the bar, and to open opportunities for those

that traditionally have been foreclosed from participation in MDL litigation. 2 Undersigned

counsel also believe that the parties should discuss at the Initial Case Management Conference

whether it will be necessary to have certain counsel for Defendants designated to coordinate

amongst all Defendants as well as related actions that may be pending in other jurisdictions.

         In keeping with the foregoing concepts, undersigned counsel propose that the Court

consider an interim class counsel structure that is consistent with the guidance from the Manual

for Complex Litigation, Fourth as well as recent multidistrict litigation class action data breach

cases. Undersigned counsel would like to discuss a proposed structure that would include

something similar to the following:

         A)       two to four firms appointed as Plaintiffs’ co-lead counsel who will have the duties

                  set forth in Section 10.221 of the Manual for Complex Litigation, Fourth;

         B)       one firm appointed as Plaintiffs’ coordinating liaison counsel who will have the

                  duties of communicating with the Court and oversight over the litigation;

         C)       one firm appointed to serve as Plaintiffs’ state court coordinating liaison who will

                  have the duties of working with attorneys litigating related state court actions;

         D)        ten firms appointed to serve as Plaintiffs’ executive committee who will be

                  assigned to specific aspects of the litigation and assigned to specific



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      See Bolch Judicial Institute, Duke Law School, Guidelines and Best Practices for Large and MassTort MDLs,
at 45 (2d ed., Sept. 2018), https://scholarship.law.duke.edu/cgi/viewcontent.cgi?article=1004&context=bolch
(explaining that there is a substantial benefit in increasing leadership appointments for appropriately-qualified
younger attorneys in large consolidated class litigation, as it “will improve the likelihood of consideration of diverse
ideas and perspectives”).



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              subcommittees such as a pleading committee, discovery committee, briefing

              committee, expert committee, and investigation committee;

       E)     two firms appointed to serve as Plaintiffs’ settlement liaison whereby such

              attorneys will coordinate with co-lead counsel and the members of the other

              committees to coordinate their efforts to settle the actions; and

       F)     six firms appointed to serve on a leadership development committee whereby

              attorneys with less experience in complex litigation will participate in all aspects

              of the case, with co-lead counsel and the members of the other committees

              providing these individuals with the experience necessary to lead future complex

              class actions.

Undersigned counsel look forward to discussing these issues with the Parties and the Court.




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Date: November 22. 2023             Respectfully submitted,

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                               Matheson v. Hartford Life and Accident
                               Insurance Co., No. 3:23-cv-01122
                               Cater v. Hartford Life and Accident Insurance
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                               Eslinger v. CareSource, No. 1:23-cv-12571
                               Moore v. Nuance Communications, Inc., No.
                               1:23-cv-12446
                               Smith v. Radius Global Solutions LLC, No.
                               0:23-cv-03182
                               Seidner v. Arietis Health, LLC, No. 2:23-cv-
                               00944
                               Madden v. Radius Global Solutions LLC, No.
                               0:23-cv-02670
                               French v. Radius Global Solutions, LLC, No.
                               0:23-cv-02992




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                                CERTIFICATE OF SERVICE

       I hereby certify that, on this date, the foregoing document was filed electronically via the

Court’s CM/ECF system, which will send notice of the filing to all counsel of record.



Dated: November 22, 2023                             /s/ Gary F. Lynch
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